ORDER DISMISSING APPEALThis is an appeal from a judgment of conviction. Eighth Judicial District Court, Clark County; Tierra Danielle Jones, Judge.Appellant's counsel has filed a notice of voluntary withdrawal of this appeal. Counsel advises this court that she has informed appellant of the legal consequences of voluntarily withdrawing this appeal, including that appellant cannot hereafter seek to reinstate this appeal, and that any issues that were or could have been brought in this appeal are forever waived. Having been so informed, appellant consents to a voluntary dismissal of this appeal. Cause appearing, weORDER this appeal DISMISSED.1Because no remittitur will issue in this matter, see NRAP 42(b), the one-year period for filing a post-conviction habeas corpus petition under NRS 34.726(1) shall commence to run from the date of this order.